                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   ST. JOSEPH DIVISION

VetBridge Product Development Subsidiary I (NM- )
OMP), LLC,                                      )
                                                )
               Plaintiff,                       )             Case No. 5:18-CV-06147-BCW
                                                )
vs.                                             )
                                                )
NewMarket Pharmaceuticals, LLC,                 )
                                                )
               Defendant.                       )


                                  DECLARATION OF KEVIN SPELTZ

        I, Kevin Speltz, being over the age of 18, under the penalties of perjury, state as follows:

        1.       My name is Kevin Speltz. I am the President of VetBridge Product Development

Subsidiary I (NM-OMP), LLC (“VetBridge”), a Missouri limited liability company, with its principal

and only place of business located at 1302 S. 59th Street, St. Joseph, Missouri 64508. I am also the

President and a member of the Board of Managers of VetBridge Animal Health, LLC (“VAH”), a

Missouri limited liability company, with its principal place of business located at 1302 S. 59th Street, St.

Joseph, Missouri 64508. VAH is a member and through its Board of Managers serves as the Manager of

VetBridge. In those capacities, I have personal knowledge of the facts stated herein.

        2.       VAH was formed on October 14, 2013 to pursue the development of specialty products

for the veterinary industry and all activities related or incidental thereto.

        3.       VetBridge was formed on June 26, 2014 to pursue the development of a rapidly

dissolving formulation of Omeprazole, including Omeprazole direct systemic introduction compositions

for use in equine animals, including veterinary medicine, and all activities related or incidental thereto,

through the Exclusive Distribution and License Agreement, which is the subject of this action.

        4.       The members of VetBridge include:

                 a. VAH;




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                                                                                              EXHIBIT 2
                b. Kevin W. Speltz and Nancy Neff Speltz Joint Revocable Trust (“Speltz Trust”),
                   Trustees, Kevin W. Speltz and Nancy Neff Speltz, both of whom reside in St. Joseph,
                   Missouri;

                c. Patterson Management, LP (“Patterson”), a Minnesota limited partnership, with its
                   principal place of business in St. Paul, Minnesota;

                d. Animal Health International, Inc. (“AHII”), a Colorado corporation, with its
                   principal place of business in St. Paul, Minnesota;

                e. MWI Veterinary Supply Inc. (“MWI”), a Delaware corporation, with its principal
                   place of business in business Boise, Idaho;

                f.   Midwest Veterinary Supply, Inc. (“Midwest Vet”), a North Dakota corporation, with
                     its principal place of business in Lakeville, Minnesota; and

                g. Dana4 Enterprises, Inc. (“Dana4”), a California corporation, with its principal place
                   of business in Laguna Niguel, CA.

        5.      VetBridge and its members are companies engaged in the successful marketing, sale and

distribution of animal healthcare products and veterinary supplies, including vaccines and

pharmaceuticals, both nationally and internationally.

        6.      Clipper Distributing Company, LLC (“Clipper”), a Missouri limited liability company,

with its principal place of business located at 1302 S. 59th Street, St. Joseph, Missouri 64508, was retained

by VetBridge to provide all the distribution and logistics for VetBridge in connection with its

performance under the Agreement. I am also the President of Clipper.

        7.      It is my understanding that NewMarket Pharmaceuticals, LLC (“NewMarket”) is a

Delaware limited liability company, which maintains its principal place of business in Trenton, New

Jersey. Mark Ridall is the President of NewMarket. It is my understanding that NewMarket is engaged in

developing drug delivery systems to enhance the quality of treatment for animals, by employing state of

the art formulation technology to develop and adapt new oral delivery technologies for established

medicines that exist in outdated or inefficient delivery systems.

        8.      At the time the Exclusive Distribution and License Agreement, which is the subject of

this action, was entered into, NewMarket’s counsel represented to VetBridge that the members of

NewMarket were Mark Ridall, Brian McDonald, Matthew Pargament and Joseph Delany. NewMarket

has since advised that Mark Ridall, Brian McDonald and Joseph Delany are residents of New Jersey, and


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that Matthew Pargament is a resident of Florida. The only interaction VetBridge had with any of the

referenced members was with Mark Ridall and Matthew Pargament.

        9.      On or about May 14, 2014, VetBridge entered into a Letter of Intent (“LOI”) with

NewMarket to fully acquire the exclusive marketing and distribution rights in the United States to

NewMarket’s rapidly dissolving formulation of omeprazole (“Omeprazole DSI”). Specifically,

VetBridge proposed to acquire a fully formulated, finished, and ready to sell Omeprazole DSI product for

use, initially in horses, for which it would have exclusive rights to sell in the United States. Although

VetBridge originally dealt with NewMarket exclusively with respect to its Omeprazole DSI product,

NewMarket represented that it had four or five other drugs it was working on including Marbofloxacin

DSI (an antibiotic) and Flunixin DSI (an anti-inflammatory drug) that it was willing to offer to VetBridge

on an exclusive basis to develop and either distribute or sell to one of the big pharmaceutical companies.

        10.     The LOI was negotiated and jointly drafted by counsel for NewMarket, Anthony S.

DiSandro, of Stevens & Lee, located in King of Prussia, PA 19406 and Tom Stahl of Lathrop Gage, LLP

(“Lathrop”), in Kansas City, Missouri, with substantial input and direct communications between

myself, Mark Ridall, and Tom Overbay, DVM, a partner in Expedite Animal Health (“Expedite”), who is

located in Louisburg, Kansas. Tom Overbay initially worked as a consultant to NewMarket and acted as

NewMarket’s liaison to VetBridge, and, as represented to me by Mark Ridall, was subsequently

employed by NewMarket directly as an employee.

        11.     It is my understanding that Expedite is a fee for service business development entity

working in the animal health space, which provides, among other things, technology scouting, technology

assessment, and, for those assets offering commercial value, assistance in their development to a

valuation point, be that registration and commercialization or out-licensure, working with biologicals,

pharmaceuticals, topical pesticides, devices, and “nutraceuticals.”     It’s my understanding that Tom

Overbay has extensive experience in product development and obtaining required regulatory approvals.

        12.     The LOI, after being signed by Mark Ridall, on behalf of NewMarket, was accepted and

signed by myself for VetBridge, in St. Joseph, Missouri.



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        13.         Effective, June 27, 2014 (“Effective Date”), for a term of thirty (30) years, NewMarket,

as Manufacturer, and VetBridge, as Distributor, entered into an Exclusive Distribution and License

Agreement (“Agreement”) with respect to the development, manufacture, supply, marketing and

distribution of NewMarket’s products, consisting of rapidly dissolving formulations of omeprazole (used

in the treatment and prevention of ulcers), including omeprazole direct system introduction (DSI)

compositions for use in all non-human animals, especially equine animals (hereinafter, “Omeprazole DSI

Products”), as well as the licensing of all of NewMarket’s intellectual property and patent rights relating

thereto. A true and correct copy of the Agreement is attached hereto as Exhibit A and is incorporated

herein by reference. I signed the Agreement on VetBridge’s behalf in Missouri.

        14.         Although the initial draft of the Agreement was prepared by Stephen Penner, formerly

with Lathrop and now deceased, as well as Tom Stahl, the terms and language of the Agreement were

negotiated directly between myself (for VetBridge) and Tom Overbay (for NewMarket), with Tom

Overbay providing language and terms that he advised were acceptable to Mark Ridall and were included

in the Agreement. I have met and spoken with Tom Overbay on numerous occasions, both in person and

by phone, in Kansas City, Missouri, throughout VetBridge’s contractual relationship with NewMarket,

concerning the Agreement and related issues, some of which are described below.

        15.         Pursuant to the Agreement, and in exchange for its payment of $4,000,000, NewMarket,

among other things,

              (a)       Appointed VetBridge as its “sole and exclusive authorized wholesale distributor and
                        reseller to advertise, promote, market, distribute, supply and sell (“Distribute” or
                        “Distribution”)” NewMarket’s Omeprazole DSI Products, including (i) rapidly
                        dissolving formulations of omeprazole (for both the treatment and prevention of
                        ulcers), including omeprazole direct system introduction (DSI) compositions for use
                        in all non-human animals, especially equine animals; (ii) revisions, alterations or
                        improvements to the NewMarket’s Omeprazole DSI Products; and (iii) new
                        veterinary products developed by NewMarket in the contractually agreed upon Field,
                        consisting of the “veterinary use of rapidly dissolving formulations of omeprazole in
                        all non-human animals including especially horses and other equine animals,” within
                        the defined Territory, consisting of “the veterinary market in the United States of
                        America including all of its states, districts, territories and possessions, including the
                        District of Columbia”; and

              (b)       Granted VetBridge, “in connection with the Distribution of the [Omeprazole DSI]
                        Products in the Territory, an exclusive, transferable, perpetual and royalty-free right


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                    and license to use, sell, offer for sale, import, and Distribute, with the right to sub-
                    license,” among other things, “[NewMarket’s] IP associated with the [Omeprazole
                    DSI] Products including but not limited to” NewMarket’s Patent Rights, “including
                    all patents and patent applications, and all divisionals, continuations, continuations-
                    in-part, counterparts, re-examinations, reissues, extensions, registrations, and
                    supplementary or complementary certificates and the like, both domestic and foreign,
                    and items which claim the benefit of priority to any of the foregoing,” “whether in
                    whole or in part, directly or indirectly owned, licensed, and/or optioned (with the
                    right to grant sub-licenses) by [NewMarket] or an affiliate thereof, as of the Effective
                    Date or during the term of this Agreement, which relate to [the Omeprazole DSI]
                    Products, and their development, manufacture, or use in the Field and in the
                    Territory,” including, but not limited to, the following:

                      Item Country Patent Application or    Filing Date                       Title
                                         Patent No.
                        1 US       61/437763             01/31/2011
                        2 US       13/343,692; issued as 01/04/2012;                 Animal treatments
                                   8,722,636             issued
                                                         05/13/2014
                                                         05/12/2014;               Animal Treatments
                                   14/275,019; issued as
                        3 US                             issued
                                   10,022,361
                                                         07/18/2018
                                                                                   Animal Treatment
                                                                    05/12/2014;
                                        14/275,031; issued as
                        4    US                                     issued
                                        9,402,835
                                                                    08/02/2016
                        5    WO         PCT/US2012/020242           01/04/2012      Animal Treatment
                        6    US         61/674,435                  07/23/2012
                        7    US         61/678,355                  01/08/2012
                        8    US         61/641,509                  02.05.2012
                        9    WO         PCT/US2012/070031           12/17/2012       Pharmaceutical
                                                                                     compositions for direct
                                                                                     systemic introduction

                       10 US           14/398,085                   10/30/2014
                       11 US           16/014,290                   06/21/2018


(Hereinafter collectively referred to as the “IP/Patent Rights”).

        16.     In connection with the Agreement, VetBridge retained Doug Rupp as its FDA consultant

to assist VetBridge in performing its due diligence prior to entering into the Agreement, and to monitor

and audit NewMarket’s efforts to obtain approval of its Omeprazole DSI Products with the Federal Drug

and Food Administration’s Center for Veterinary Medicine (“FDA/CVM”), as provided for in the

Agreement at Exhibit B, ¶B.4(a). It’s my understanding that Doug Rupp resides in Wilmington, North

Carolina. Doug Rupp is a regulatory compliance executive with substantial experience and expertise in



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gaining regulatory approval for pharmaceutical and medicated feed additive animal products in both

domestic and international markets.

        17.     Dr. David Rock, one of the named inventors of some of NewMarket’s IP/Patent Rights

served as NewMarket’s Vice President of Research & Development, and was principally responsible for

leading NewMarket’s efforts to obtain FDA/CVM approval. Dr. Rock’s wife, Sandra Rock, also worked

for NewMarket and did their bookkeeping. Dr. Rock and his wife no longer work for NewMarket and

reside in California, Missouri.

        18.     With respect to its marketing efforts for the Omeprazole DSI Products, VetBridge

retained the services of Marv Jahde of The Solutions Group, LLC, who is located in Overland Park,

Kansas, who has expertise in the equine marketplace, to assist in the development of its marketing plans,

forecasting and sales projections related to the Omeprazole DSI Products.

        19.     Additionally, Lathrop (out of its Kansas City and Overland Park offices) was engaged to

assist VetBridge in registering the trademarks it intends to use with respect to the Omeprazole DSI

Products with the United States Patent and Trademark Office (“USPTO”); although registration cannot

be completed until the products are actually in use. VetBridge has continued to file extensions with the

USPTO so that it does not lose the right to obtain registration for these names.

        20.     Brandon McKibbon, who formerly served as Clipper’s CFO, performs all of the

accounting for VetBridge and was responsible for paying NewMarket’s invoices for VetBridge’s

$4,000,000 investment. Brian McKibbon resides in Atchison, Kansas.

        21.     Pursuant to the Agreement, VetBridge’s funding obligation for the development of the

Omeprazole DSI Products was capped at $4,000,000. (Agreement at Exhibit B, ¶3.B (“Upon completion

of the Stage 1 Funding, [Distributor] shall proceed and advance the development of the [Omeprazole DSI]

Products including by directly funding the efforts, but not to exceed a total of $3 million in addition to the

Stage 1 Funding [of $1 million], up to a projected grand total of $4 million dollars.”).

        22.     VetBridge’s $4,000,000 investment was to be used by NewMarket “solely for direct

expenses related to the development of the [Omeprazole DSI] Products,” including, but not limited to, the



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direct expenses associated with preparing, prosecuting and obtaining approval of a New Animal Drug

Application (“NADA”) for such products, both for treatment and prevention, from the FDA/CVM and

conducting necessary field clinical studies through a third party Contract Research Organization

(“CRO”), VetPharm, Inc. (“VetPharm”) in connection with the same. (Agreement, ¶1(d)). VetBridge’s

investment was not to be used to pay salaries, wages, payroll taxes and other administrative expenses and

overhead.

        23.     Paragraph 1(d) of the Agreement further provides that “any use of funds by [NewMarket]

contrary to [the foregoing restriction] shall provide [VetBridge] with the right to immediate repayment

from [NewMarket] of all monies paid to [NewMarket] by [VetBridge].”

        24.     Except for VetBridge’s payment of $4,000,000, NewMarket was responsible for

providing any additional funding and performing all other steps and tasks necessary to provide VetBridge

with the Omeprazole DSI Products in a saleable form for distribution, including, but not limited to,

obtaining the necessary approvals from the FDA/CVM and manufacturing and supplying VetBridge with

the Omeprazole DSI Products in a saleable form for distribution.

        25.     Quarterly invoicing from NewMarket for VetBridge’s $4,000,000 investment was

provided to VetBridge by Bryan Ridall, Mark Ridall’s son, who worked for NewMarket. Bryan Ridall

was also responsible for providing VetBridge with at least quarterly project status updates to keep

VetBridge apprised of all aspects of the development of the Omeprazole DSI Products, including securing

FDA/CVM approval.

        26.     In November 2015, Bryan Ridall, on NewMarket’s behalf, confirmed to VetBridge that it

had satisfied its funding obligation, and that NewMarket would fund the final stages of the project to

obtain approval from the FDA/CVM and provide VetBridge with its Omeprazole DSI Products in a

saleable form for distribution.

        27.     On February 10, 2016, Mark Ridall and Tom Overbay asked me if VetBridge would

invest an additional $806,304.44, to cover cost overruns incurred in the first quarter of 2016, which were




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primarily to cover invoices from VetPharm. (2/10/2016 NewMarket Invoice, Exhibit B). I agreed to

present their request to VetBridge’s Board of Managers.

        28.      On or about March 15, 2016, while I was traveling to the Bahamas, I received an email

from Denni O. Day (“Day”), VetPharm’s President, regarding past due invoices allegedly owed by

NewMarket, which she indicated were in an amount in excess of $800,000, and advised of VetPharm’s

intent to shut down the clinical field studies it was performing for NewMarket if payment wasn’t

received. Several other VetBridge members received similar communications.

        29.      At the time, I did not know how VetPharm learned who VetBridge’s members were

because that information was confidential under the Agreement. I have since been informed that Mark

Ridall told VetPharm that it was VetBridge’s responsibility to pay for VetPharm’s work (which is not

true) and that he and/or Bryan Ridall, in breach of the Agreement’s confidentiality provision, not only

provided VetPharm with my name, but the names of other VetBridge members. (See Declaration of Denni

O. Day (“Day Declaration”), Plaintiff’s Suggestions in Opposition to Defendant’s Motion to Transfer

(“Opposition”), at Exhibit 1).

        30.      Within a few minutes of reading Day’s email, I forwarded it to Mark Ridall and asked

him how I should respond. After I heard nothing back from Mark Ridall, I sent an email to Day to

schedule a time to talk with her on March 23.

        31.      On March 16, 2016, Mark Ridall forwarded me an email from Patrick Niland (“Niland”),

VetPharm’s CFO, which advised that the past due amount for the Prevention study was $224,429.57, and

that the past due amount for the Treatment study was $426,153.17. (3/16/2016 Email String, Exhibit C). I

also informed Mark Ridall that other VetBridge members had informed me that VetPharm had reached

out to them, as well, and advised that the VetBridge Board would require a recap of how VetBridge’s

funds on the project had been spent and would question NewMarket’s financial situation. Mark Ridall

responded that

        These clowns are owed $370K and it’s now 17 days late. You and I have talked about the cost
        started in October of last year. I meet [sic] with Adent and Midwest in Nov and Dec if you look at
        the calendar it is now March.



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        We can talk when you get back but let me be clear, this is not my fault she reached out on her
        own and I will crush her under my foot.

Id.

        32.     On March 22, 2016, Mark Ridall declined to provide me with permission to speak

directly with Day. (See Declaration of Mark Ridall (“Ridall Dec.”) [Doc. 9-1] at Exhibit 3). As a result, I

informed Day that such permission had been declined and cancelled my call. I also instructed all

VetBridge members not to engage in any communications with VetPharm or anyone associated with it.

        33.     Although Mark Ridall declined to provide me with permission to speak with VetPharm,

thereafter, NewMarket copied me on several emails it subsequently exchanged with VetPharm related to

issues concerning NewMarket’s nonpayment of VetPharm’s invoices.

        34.     It is my understanding that VetBridge, its members and its counsel did not have access to

VetPharm’s studies nor did they have access to any of the data resulting from the studies VetPharm

performed. Nor did VetBridge, its members or counsel engage in any communications in any form with

VetPharm, Day, Niland, or VetPharm’s counsel, regarding the substance or any of the specifics of the

studies VetPharm performed or any information about the results of those studies or the data resulting

from same.

        35.     After Mark Ridall demanded in March and April of 2016, that VetBridge provide it with

copies of any communications VetBridge or its members had received from VetPharm, in a series of what

I considered threatening emails towards VetBridge, I advised Mark Ridall on April 7, 2016, that all

communications in that regard would need to be directed to VetBridge’s counsel, Tom Stahl. Mark Ridall

emailed me that same day and advised that it was not his intent to threaten VetBridge with legal action.

(4/07/2016 Email String, Exhibit D).

        36.     In mid-April 2016, in connection with its consideration of providing additional funding to

NewMarket for the previously requested $806,304.44, VetBridge requested its FDA consultant, Doug

Rupp, to visit NewMarket and speak with Dr. Rock to, among other things, obtain information regarding

a number of items relating to the Treatment and Prevention studies; determine the timing of and any

issues related to submitting the Treatment study to the FDA/CVM for approval; discuss any concerns or


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issues that would potentially delay the project or affect its approval by the FDA/CVM (including whether

VetPharm’s unsolicited, limited communications regarding non-payment of its invoices would have any

potential impact on the same); review the VetPharm contract and invoices to determine what was actually

owed; and perform an accounting of how VetBridge’s $4,000,000 investment had been spent.

       37.     Doug Rupp reported back to VetBridge following his visit at NewMarket and advised,

among other things, that NewMarket had approximately $1,500,000 in current, unpaid bills and estimated

that it would cost an additional $1,000,000 to finish the project, plus an additional $2,000,000 to

$2,500,000 to reserve the manufacturing suite, for a total of approximately $4,000,000 to bring the

Omeprazole DSI Products to market. Doug Rupp expressed concerns about NewMarket’s ability to

successfully finish the project due to a lack of funding, and noted that the project had been delayed 6

months thus far. Doug Rupp further confirmed that communications from VetPharm regarding

outstanding amounts it claimed it were owed, or who or how those amounts would get paid, would have

no negative impact on the regulatory approval process with the FDA/CVM.

       38.     Based upon the information Doug Rupp obtained during his visit, several of the members

of VetBridge’s Board of Managers, including myself, John Adent (AHII) and Jim Cleary (MWI), together

with VetBridge’s counsel, Tom Stahl, met with Mark Ridall in Denver, Colorado on May 6, 2016 to

discuss a number of outstanding questions and issues related to the project, including whether VetBridge

would agree to invest the additional funds, as previously requested by NewMarket. (5/06/2016

NewMarket Agenda, Exhibit E).

       39.     During that meeting, contrary to the Agreement and the information previously provided

by NewMarket, Mark Ridall, for the first time, claimed, among other things, (a) that none of VetBridge’s

money had allegedly gone towards the Treatment study and that VetBridge had acquired no rights in that

study or the Omeprazole DSI treatment product; (b) that VetBridge’s money1 had allegedly solely been

used for the Prevention study and that VetBridge’s only rights under the Agreement related to the

1
  Mark Ridall confirmed that VetBridge had satisfied its obligations under the Agreement, but claimed
VetBridge only got rights in the Prevention study and product, not the Treatment study and product;
though he later acknowledged that VetBridge acquired the rights to both, as indicated below.


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prevention product; (c) that NewMarket had purportedly transferred an 80% ownership interest in

NewMarket to Aboris Animal Health, LLC (“Aboris”), a Delaware limited liability company; (d) that

NewMarket had purportedly assigned its right to manufacture the Omeprazole DSI Products to Aboris; (e)

that NewMarket had purportedly transferred its IP/Patent Rights related to the Omeprazole DSI Products

to an unnamed, overseas company for “tax purposes”; (f) that VetPharm’s invoices as of April 7, 2016

had been paid (though he never answered why VetPharm was still claiming that additional amounts were

owed); and (g) that Aboris had recently put $2,000,000 into NewMarket, which was going to be used to

pay VetPharm (though he didn’t say when that would be done). Mark Ridall further advised that

NewMarket was going to pay the $4,000,000 necessary to hold the production line for NewMarket’s

products and that the Treatment study had had “fantastic results” (though he indicated additional work

needed to be finalized before going to the FDA and was unable to provide a date when the Omeprazole

DSI Product could actually be manufactured and available for sale by VetBridge). At the conclusion of

that meeting, Mark Ridall was specifically informed that VetBridge had met its funding obligation and

that it was highly unlikely that VetBridge would agree to provide additional funding.

        40.     Unbeknownst to VetBridge at the time of this meeting, and although Mark Ridall assured

us that VetPharm’s invoices would be taken care of, I subsequently learned that Tom Overbay was in

communication with Day and Niland (of VetPharm) following our meeting, and that, contrary to the

position we communicated to Mark Ridall at our meeting, assured her that “the investor discussion is still

going on,” and that it would likely be “mid-week before a consensus is reached.” (5/09/2016 Email

String, Exhibit F). It is my understanding that VetPharm’s counsel, Michael McConville, with

McConville Considine Cooman & Morin (located in Rochester, New York), subsequently asked our

counsel, Tom Stahl, if he could provide anything positive that Day could tell her investigators. I

understand that Tom Stahl’s only response was that:

        I cannot add anything positive from my group. However, I do not represent the owners or
        affiliates of New Market. I do not know whether or not that group can provide resources to satisfy
        you client. Just because my group cannot add anything positive does not speak to New Market, its
        owners or affiliates.

Id.


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        41.     Following that meeting, and based upon our review of the financial information

NewMarket provided Doug Rupp following his visit, it was determined that, contrary to the Agreement’s

restrictions and limitations on NewMarket’s expenditure of the funds paid by VetBridge, as well as the

representations made by NewMarket in its invoices to VetBridge, NewMarket, among other things, had

used VetBridge’s funds to pay for salaries, wages, payroll taxes and other administrative and overhead

expenses in an amount in excess of $1,000,000, and that NewMarket, pursuant to the invoices it

submitted to VetBridge, had overcharged VetBridge by approximately $1,612,070.15 from what it

actually paid the vendors and other third parties, as reflected on such invoices. This information was

reported to Mark Ridall and Tom Overbay in an email dated May 17, 2016, which enumerated the

overcharges between what NewMarket had paid various vendors versus what it had charged VetBridge.

(5/17/2016 Email, Exhibit G). Although VetBridge requested a detailed audit of NewMarket’s invoices

to VetBridge, as well as all of the underlying expenses and invoices reflected therein, NewMarket has not

provided VetBridge or Doug Rupp with copies of the same. Moreover, Bryan Ridall informed me that the

underlying invoices from NewMarket’s vendors would not match up with the amounts charged to

VetBridge; although he did not explain why that was the case.

        42.     Mark Ridall thereafter provided VetBridge with his letter dated September 6, 2016

(Ridall Dec. [Doc. 9-1] at Exhibit 1). According to that letter, Mark Ridall acknowledged that, as part of

the Agreement, VetBridge received rights to both the Treatment and Prevention Omeprazole DSI

Products, as well as that it had satisfied its funding obligation thereunder. In addition, he provided

VetBridge with an update regarding, among other things, the status of the project, submissions to the

FDA and the reasons for various increased costs related to the project, including the amounts due

VetPharm. Mark Ridall further agreed going forward, that Bryan Ridall would serve as the point of

contact for both myself and our FDA consultant, Doug Rupp, for the review of books and records, and

agreed to have Dr. Rock meet with myself and other board members to provide us with an “update on the

technical and scientific findings regarding performance of the omeprazole in the clinical studies and to

update VetBridge on the regulatory status of the submissions.” Id.



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        43.     Thereafter, on October 20, 2016, Mark Ridall, Tom Overbay, Matt Pargament and Dr.

Alan Graham met with Tom Stahl and me at Lathrop’s Kansas City, Missouri office. At that meeting we

were advised that Matt Pargament and Dr. Alan Graham were “investors” in both NewMarket and Aboris;

although Dr. Alan Graham had never been previously identified as a NewMarket member. During that

meeting, after reporting to us what he claimed was the “treatment field trial effective rate” and that the

treatment product should be approved by the FDA and ready to be sold no later than the 3rd or 4th Quarter

of 2017, in an apparent turnabout from his September 6, 2016 letter, Mark Ridall presented us with what

he claimed were VetBridge’s “options” for moving forward with the project; all of which sought to

substantially change our Agreement and required VetBridge to put in additional funds (in the minimal

sum of $6,000,000 to complete the Treatment and Prevention studies and pay for validation batches—

which were NewMarket’s obligations under the Agreement—up to a maximum sum of $25,000,000 to

get the exclusive distribution rights for both the Omeprazole DSI Treatment and Prevention products, as

well as four or five other products purportedly being worked on (and which VetBridge suspects may have

improperly been funded with some of VetBridge’s money), or to simply develop more products to sell to

the big pharmaceutical companies.

        44.     Mark Ridall thereafter sent me a letter dated November 15, 2016, wherein he sought to

impose yet additional financial obligations on VetBridge that were contrary to the terms of the

Agreement, including that VetBridge agree to fund an additional $1,500,000 for registration of the

Prevention product; that VetBridge assume responsibility for purchasing the initial validation batches of

$1.2 million tablets, at a forecasted cost of $5,100,000 (or $4.25 per tablet; an increase of $1.70/tablet

over the originally agreed upon transfer price), and that VetBridge post a letter of credit in favor of

NewMarket to cover 20% of the first 18 months of production, to be posted before the validation batches

required by the FDA were produced.

        45.     The following day, November 16, 2016, Tom Overbay, acting on behalf of NewMarket

(and Mark Ridall) sent me yet another proposal that, while committing to lower the transfer price of the

tablets, required VetBridge to:



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                a. Fund the balance of the Prevention study;

                b. Fund the registration of the Omeprazole DSI product for horses in the EU;

                c. Fund 2 additional product development programs (1 antibiotic and 1 anti-
                   inflammatory), which he indicated would include NewMarket’s direct out of pocket
                   costs, as well as the salaries of NewMarket’s employees, proportional to their
                   involvement in the projects, and a management fee as a percentage of expenses,
                   estimated at a total cost of $9-11,000,000 per drug.

        46.     On December 2, 2016, as previously agreed by Mark Ridall, Dr. Rock and Tom Overbay

met with members of VetBridge’s Board of Managers and our counsel, Tom Stahl, in a phone conference

conducted from Lathrop’s offices in Kansas City, Missouri. During that meeting, Dr. Rock and Tom

Overbay provided an update on the Omeprazole DSI Products, including, among other things, the status

of the FDA filings and future expenses needed to complete the Prevention Omeprazole DSI product, as

well as descriptions of the requirements needed for FDA/CVM approval, including the Target Animal

Safety, Filed Clinical Efficacy, Human Food Safety, CMC, Environmental Impact, All Other Information,

Labeling and Freedom of Information.

        47.     Thereafter, in an effort to move the project forward, VetBridge and NewMarket agreed to

discuss a proposal to jointly engage a broker to look at the potential of finding a buyer for the Omeprazole

DSI Products. Tom Overbay met with Tom Stahl and me at Tom Stahl’s offices to discuss the same and

we engaged in negotiations with NewMarket (through Mark Ridall and Tom Overbay) in an attempt to

agree on the specific metrics for each company.

        48.     VetBridge never agreed or consented to NewMarket’s purported transfer of any

membership interest to Aboris or any other person or entity, nor did it ever consent to NewMarket

transferring any of its assets or agreements related to its Omeprazole DSI Products to Aboris, including,

but not limited to, any contract rights, manufacturing rights and/or IP/Patent Rights relating thereto,

which, to VetBridge’s knowledge constitute all or substantially all of NewMarket’s assets relating to the

Agreement.

        49.     Despite that, in late February 2017, I received a copy of the below screenshot, which

showed that Aboris was now claiming ownership of NewMarket’s “Omeprazole DSI for Equines”:



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        50.     Thereafter, on April 4, 2017, contrary to my discussions with Tom Overbay and Mark

Ridall regarding our companies jointly retaining a broker, Tom Overbay informed me that “NewMarket

has complet[ed] the engagement of AgriCapital (Doug Sterkel) as the broker for the omeprazole

product(s) on a global basis.”

        51.     VetBridge’s counsel, Tom Stahl, subsequently sent a letter to Mark Ridall and Tom

Overbay regarding Tom Overbay’s April 4 communication and advised that NewMarket had no right to

engage a broker or sell any rights that included VetBridge’s rights within the U.S. without VetBridge’s

consent, and that VetBridge did not engage and would not be bound by any agreements entered into

between NewMarket and AgriCapital (Doug Sterkel). (4/20/2017 Letter, Exhibit H).

        52.     In June 2017, I was informed that NewMarket had filed suit against VetPharm in federal

court in New Jersey in an effort to get VetPharm to release the final test data to NewMarket, but that

NewMarket had lost its attempt to obtain the data, and that NewMarket was ordered to arbitrate its claims

against VetPharm.




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        53.     In August 2017, I had a conference call with Mark Ridall and Tom Overbay for an update

on the progress of the Omeprazole DSI project. After reporting a number of problems with the project, as

well as the status of the arbitration with VetPharm (which Mark Ridall indicated was moving slowly and

could take up to two years), Mark Ridall confirmed that NewMarket had retained Doug Sterkel of

AgriCapital, but advised that it did so solely to evaluate other companies’ interest in buying the

Omeprazole DSI Products. He also advised, based on the feedback he had claimed to have received to

date, that the product was worth considerably less than what he had expected.

        54.     Following Mark Ridall’s update, I informed him that it was VetBridge’s expectation that

NewMarket would honor its Agreement with VetBridge to supply a finished FDA approved Omeprazole

DSI Product that could be sold for both treatment and prevention in the U.S. equine market or sold to

another company, depending on what VetBridge felt would be in its best interest. In response, Mark

Ridall stated that from a “business perspective” he “did not give a F*** what [I] or VetBridge wanted,” as

he claimed he had allegedly invested over $6 million of his own money and that “[he] could care less if

[he] ever supplies or sells product to [VetBridge].” He then hung up the phone on Tom Overbay and me.

Tom Overbay and I both expressed our shock at Mark Ridall’s reaction. Tom Overbay confirmed that my

expectations were in line with VetBridge’s Agreement and he informed me that he would have done

exactly the same thing if our roles had been reversed. I then requested that NewMarket provide a project

update that could be shared with VetBridge’s Board of Managers, and was advised that NewMarket’s

lawyers would have to write it.

        55.     On January 8, 2018, I emailed Mark Ridall and Tom Overbay requesting that NewMarket

provide me with an update on the status of the Omeprazole DSI project with VetBridge as of the 2017

year end, consistent with NewMarket’s agreement to provide VetBridge with quarterly updates.

        56.     Mark Ridall called me in response to that request that same day. During that call Mark

Ridall was very adversarial, threatened to sue VetBridge several times, claimed that VetPharm had

allegedly “withdrawn” from the arbitration between it and VetPharm and that he had invested $10 million

into the project. He stated that the total account with VetPharm was now $1.7 million and that he wanted



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VetBridge to “pony it up”; though VetBridge had already satisfied its funding obligations. He also stated

that he had spoken with at least two pharmaceutical companies, including Dechra Pharmaceuticals, that

the Omeprazole DSI Product was worth $100 million to a big pharmaceutical company and that he

wanted to “renegotiate” our Agreement. At no time during that call did Mark Ridall or Tom Overbay ever

disclose that NewMarket had actually negotiated or entered into a formal letter of intent with Dechra

Pharmaceuticals PLC (“Dechra”), a large international pharmaceutical company based in the United

Kingdom, with its U.S. operations based out of Overland Park, Kansas.

        57.     On June 4, 2018, acting on behalf of VetBridge, I sent a letter to Mark Ridall, at

NewMarket’s offices, both by regular and certified mail. Because VetBridge had received no

communication from NewMarket regarding the status of the project since my call with Mark Ridall on

January 8, 2018 (and VetBridge believed that NewMarket had breached its obligations under the

Agreement in numerous respects), I requested that NewMarket provide us with information that

demonstrated it could obtain FDA approval and the timing of when the Omeprazole DSI Products would

be made available to VetBridge to sell, as well as that it provide confirmation that (i) NewMarket had not

granted any security interests in any of the IP/Patent Rights necessary to manufacture the Omeprazole

DSI Products (as prohibited by ¶10(f) of the Agreement); (ii) there had been “no change of control” with

regard to NewMarket (as defined in in ¶13(v) of the Agreement); and (iii) NewMarket had not “assigned,

subcontracted, delegated or otherwise transferred the Agreement or any of its rights or obligations (as

prohibited by ¶15(b) of the Agreement), among other things. (A true and correct copy of that letter is

attached hereto as Exhibit I).

        58.     Because no response to that letter was received, on June 22, 2018, VetBridge’s attorney,

Tom Stahl, sent a demand letter to NewMarket, to the attention of Mark Ridall, by Federal Express, and

advised that absent a response, VetBridge “would have no option but to pursue and exercise all of its

rights in court of law.” (Exhibit J). No response to that letter was received.

        59.     Having received no communication or response from NewMarket or Mark Ridall,

VetBridge thereafter filed this action in the Circuit Court of Buchanan County, Missouri, Case No. 18BU-



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CV03640, on August 29, 2018. (Verified Petition for Damages, Specific Performance & Injunctive Relief

(“Verified Petition”) [Doc. 1 at 1-22]). The Honorable Melissa Lawyer, Circuit Court Judge, entered a

Temporary Restraining Order (“TRO”) against NewMarket on September 5, 2018 at 9:19 a.m. (TRO

[Doc. 1 at 39-45]) and, at the scheduled preliminary injunction hearing on September 14, 2018, with the

stipulation of NewMarket’s counsel, Robert Pollaro, entered an Amended TRO. (Amended TRO [Doc. 1

at 63-73]).

        60.     Late in the evening on September 5, 2018, while reviewing an annual report for Dechra, I

noted a footnote on page 128 of Dechra’s annual report for the year ended June 30, 2018, which stated

that “Included within the research and development expenditure is £0.25 million to secure worldwide

rights for an equine gastro intestinal formulation from NewMarket Pharmaceuticals LLC, which we

[Dechra] plan to develop to registration through our R&D team.” (Exhibit K).

        61.     I subsequently learned that NewMarket, without VetBridge’s knowledge or consent, on

or about November 8, 2017, entered into a written Letter of Intent (“LOI”) with Dechra “in respect [of]

reaching an agreement [for] the grant of an exclusive, worldwide licence [including the U.S.] from

NewMarket to Dechra to make, use, market, sell, distribute, import and export omeprazole rapid dissolve

tablets in the veterinary market,” and received $250,000 from Dechra in connection therewith. It is my

understanding that Dechra’s obligation to enter into a license agreement with NewMarket (for which it

agreed to pay additional funds) is contingent upon completion of its due diligence; but that the due

diligence period does not begin to run until after NewMarket makes the data collected by VetPharm

available for its review, which it has not yet received. Although Dechra, pursuant to the LOI, purportedly

has the right to acquire the worldwide rights to the Omeprazole DSI Products in the veterinary market

(which is encompassed by the Field granted to VetBridge under its Agreement), it’s my understanding

that the rights most important to Dechra under the LOI are to the U.S. market, which is also the precise

Territory conveyed to VetBridge under its Agreement. It’s my further understanding that, although

Dechra was initially approached by Doug Sterkel (of AgriCapital), NewMarket (including Mark Ridall

and Tom Overbay) went around AgriCapital and approached Dechra directly to negotiate the LOI.



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          62.    Doug Sterkel (formerly with AgriCapital), who is located in New York City, confirmed

that fact and that NewMarket has not been paid any of the fees it owes AgriCapital under its engagement

letter.

          63.    All of VetBridge’s documents relating to the matters at issue in VetBridge’s Verified

Petition, now pending before this Court, are located at VetBridge’s principal place of business in St.

Joseph, Missouri, and at the offices of its counsel in Kansas City, Missouri.

          64.    It is my understanding that the following individuals possess knowledge of facts relevant

to VetBridge’s claims, its damages and/or potential defenses, and may be called to testify at trial:

                   Witness                        Location                 Subject Matter of Testimony
                Name/Affiliation

 1.        Kevin Speltz, VetBridge      St. Joseph, Missouri             All aspects of the Agreement and
                                                                         relationship with NewMarket;
                                                                         VetBridge’s performance;
                                                                         NewMarket’s lack of
                                                                         performance/inability or refusal to
                                                                         perform; NewMarket’s
                                                                         representations regarding the
                                                                         sale/transfer of interests and rights
                                                                         held by VetBridge to third parties;
                                                                         Mark Ridall’s representations
                                                                         regarding one or more changes of
                                                                         control; transfers of ownership
                                                                         and other rights to Aboris;
                                                                         representations by Mark Ridall,
                                                                         Tom Overbay and Dr. Rock
                                                                         regarding the foregoing;
                                                                         VetBridge’s damages;
                                                                         NewMarket’s engagement of
                                                                         Doug Sterkel (AgriCapital) and
                                                                         Dechra LOI; unsolicited, limited
                                                                         communications from VetPharm
                                                                         regarding unpaid invoices

 2.        Brandon McKibbon,            Atchison, Kansas                 VetBridge’s fulfillment of its
           former CFO, Clipper                                           funding obligation to NewMarket;
                                                                         VetBridge’s damages

 3.        Tom Stahl, Lathrop           Kansas City, Missouri            Agreement and relationship with
                                                                         NewMarket; VetBridge’s
                                                                         performance; NewMarket’s lack
                                                                         of performance/inability or refusal
                                                                         to perform; NewMarket’s
                                                                         representations regarding the


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             Witness                     Location        Subject Matter of Testimony
          Name/Affiliation

                                                       sale/transfer of interests and rights
                                                       held by VetBridge to third parties;
                                                       Mark Ridall’s representations
                                                       regarding one or more changes of
                                                       control; transfers of ownership
                                                       and other rights to Aboris;
                                                       representations by Mark Ridall,
                                                       Tom Overbay and Dr. Rock
                                                       regarding the foregoing;
                                                       unsolicited, limited
                                                       communications from VetPharm’s
                                                       former counsel regarding unpaid
                                                       invoices and limited response that
                                                       VetBridge did not agree to fund

4.    Tom Overbay, DVM,         Louisburg, Kansas      All aspects of the Agreement and
      Expedite Animal Health,                          relationship with NewMarket;
      consultant and former                            VetBridge’s performance;
      employee of NewMarket                            NewMarket’s lack of
                                                       performance/inability or refusal to
                                                       perform; NewMarket’s
                                                       sale/transfer of interests and rights
                                                       held by VetBridge to third parties;
                                                       Mark Ridall’ representations
                                                       regarding one or more changes of
                                                       control; ownership of NewMarket,
                                                       Aboris and rights conveyed to
                                                       Aboris; representations by Mark
                                                       Ridall, Tom Overbay and Dr.
                                                       Rock regarding the foregoing;
                                                       NewMarket’s engagement of
                                                       Doug Sterkel (AgriCapital) and
                                                       negotiation/execution of LOI with
                                                       Dechra

5.    Dr. Dave Rock, Vice       California, Missouri   Co-inventor of NewMarket’s
      President of Research &                          IP/Patent Rights; NewMarket’s
      Development for                                  efforts to obtain FDA/CVM
      NewMarket                                        approval; NewMarket’s lack of
                                                       performance/inability or refusal to
                                                       perform; one or more changes of
                                                       control of NewMarket; ownership
                                                       of NewMarket, Aboris and rights
                                                       conveyed to Aboris;
                                                       representations by Mark Ridall,
                                                       Tom Overbay and Dr. Rock
                                                       regarding the foregoing




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             Witness                       Location        Subject Matter of Testimony
          Name/Affiliation

6.    Sandra Rock, former         California, Missouri   Misuse of VetBridge’s funds by
      bookkeep for NewMarket                             NewMarket

7.    Doug Rupp, FDA              Wilmington, NC         Monitored and audited
      Consultant to VetBridge                            NewMarket performance and
                                                         FDA approval process;
                                                         NewMarket’s lack of
                                                         performance/inability or refusal to
                                                         perform; misuse of VetBridge’s
                                                         funds; NewMarket’s sale/transfer
                                                         of interests and rights held by
                                                         VetBridge to third parties; Aboris
                                                         and rights conveyed to Aboris
                                                         representations by Mark Ridall,
                                                         Tom Overbay and Dr. Rock
                                                         regarding the foregoing; lack of
                                                         impact or effect on FDA/CVM
                                                         approval process of limited
                                                         communications from

8.    Guy Flickinger, President   Lakeville, Minnesota   Agreement and relationship with
      of Midwest Vet                                     NewMarket; VetBridge’s
                                                         performance; NewMarket’s lack
                                                         of performance/inability or refusal
                                                         to perform; representations by
                                                         Mark Ridall, Tom Overbay and
                                                         Dr. Rock regarding the foregoing;
                                                         unsolicited, limited
                                                         communications from VetPharm
                                                         regarding unpaid invoices and
                                                         limited response that VetBridge
                                                         would not fund

9.    James Cleary, formerly      Boise, Idaho           Agreement and relationship with
      President of MWI                                   NewMarket; VetBridge’s
                                                         performance; NewMarket’s lack
                                                         of performance/inability or refusal
                                                         to perform; NewMarket’s
                                                         representations regarding the
                                                         sale/transfer of interests and rights
                                                         held by VetBridge to third parties;
                                                         Mark Ridall’s representations
                                                         regarding one or more changes of
                                                         control; transfers of ownership
                                                         and other rights to Aboris;
                                                         representations by Mark Ridall,
                                                         Tom Overbay and Dr. Rock
                                                         regarding the foregoing



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              Witness                      Location             Subject Matter of Testimony
           Name/Affiliation

10.    John Adent, formerly       Lansing, Michigan           Agreement and relationship with
       President and CEO, AHII                                NewMarket; VetBridge’s
                                                              performance; NewMarket’s lack
                                                              of performance/inability or refusal
                                                              to perform; NewMarket’s
                                                              representations regarding the
                                                              sale/transfer of interests and rights
                                                              held by VetBridge to third parties;
                                                              Mark Ridall’s representations
                                                              regarding one or more changes of
                                                              control; transfers of ownership
                                                              and other rights to Aboris;
                                                              representations by Mark Ridall,
                                                              Tom Overbay and Dr. Rock
                                                              regarding the foregoing

11.    Dave Wagley, formerly      Fort Collins, Colorado      Agreement and relationship with
       CFO AHII (retired)                                     NewMarket; VetBridge’s
                                                              performance; NewMarket’s lack
                                                              of performance/inability or refusal
                                                              to perform

12.    Mary Pat Thompson,         Boise, Idaho                Agreement and relationship with
       formerly Sr. Vice                                      NewMarket; VetBridge’s
       President of Finance of                                performance; NewMarket’s lack
       MWI (retired)                                          of performance/inability or refusal
                                                              to perform; representations by
                                                              Mark Ridall, Tom Overbay and
                                                              Dr. Rock regarding the foregoing

13.    George Henriques, Chief    Denver, Colorado            Agreement and relationship with
       Commercial Officer,                                    NewMarket; VetBridge’s
       Patterson Animal Health                                performance; NewMarket’s lack
                                                              of performance/inability or refusal
                                                              to perform; representations by
                                                              Mark Ridall, Tom Overbay and
                                                              Dr. Rock regarding the foregoing

14.    Don Louchios, President    Laguna Niguel, California   Agreement and relationship with
       of Dana4                                               NewMarket; VetBridge’s
                                                              performance; NewMarket’s lack
                                                              of performance/inability or refusal
                                                              to perform; representations by
                                                              Mark Ridall, Tom Overbay and
                                                              Dr. Rock regarding the foregoing

15.    Marv Jahde, President of   Overland Park, Kansas       Marketing consultant to VetBridge
       The Solutions Group,                                   to assist in market research,
                                                              forecasting and sales projections


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              Witness                       Location          Subject Matter of Testimony
           Name/Affiliation

       LLC, (OP, KS)                                        and developing marketing
                                                            campaign for when FDA approval
                                                            obtained; damages

16.    Clark Weaver, formerly      Phoenix, Arizona         Assisted with due diligence an
       Equine Sales Manager at                              market research for VetBridge and
       MWI                                                  worked with Marv Jahde in
                                                            forecasting and sales projections;
                                                            damages

17.    Ian Page, CEO, Dechra       United Kingdom           NewMarket’s engagement of
       Pharmaceuticals, PLC                                 Doug Sterkel (AgriCapital) and
                                                            contact with Dechra;
                                                            negotiation/execution/performance
                                                            of LOI with Dechra and rights
                                                            proposed to be conveyed,
                                                            including rights held by
                                                            VetBridge; NewMarket’s failure
                                                            to disclose VetBridge’s
                                                            Agreement and rights

18.    Susan Longhofer, Group      United Kingdom           NewMarket’s engagement of
       Director, Business                                   Doug Sterkel (AgriCapital) and
       Development &                                        contact with Dechra;
       Regulatory Affairs,                                  negotiation/execution/performance
       Dechra pharmaceuticals,                              of LOI with Dechra and rights
       PLC                                                  proposed to be conveyed,
                                                            including rights held by
                                                            VetBridge; NewMarket’s failure
                                                            to disclose VetBridge’s
                                                            Agreement and rights

19.    Mike Eldred, President of   Overland Park, Kansas    NewMarket’s engagement of
       N. Am. Operations,                                   Doug Sterkel (AgriCapital) and
       Dechra Veterinary                                    contact with Dechra;
       Products, LLC                                        negotiation/execution/performance
                                                            of LOI with Dechra and rights
                                                            proposed to be conveyed,
                                                            including rights held by
                                                            VetBridge; NewMarket’s failure
                                                            to disclose VetBridge’s
                                                            Agreement and rights

20.    Mark Ridall, President of   Pennington, New Jersey   All aspects of the Agreement and
       NewMarket                                            relationship with NewMarket;
                                                            VetBridge’s performance;
                                                            NewMarket’s lack of
                                                            performance/inability or refusal to
                                                            perform; NewMarket’s


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              Witness                     Location              Subject Matter of Testimony
           Name/Affiliation

                                                              sale/transfer of interests and rights
                                                              held by VetBridge to third parties;
                                                              Mark Ridall’ representations
                                                              regarding one or more changes of
                                                              control; ownership of NewMarket,
                                                              Aboris and rights conveyed to
                                                              Aboris; representations by Mark
                                                              Ridall, Tom Overbay and Dr.
                                                              Rock regarding the foregoing;
                                                              NewMarket’s engagement of
                                                              Doug Sterkel (AgriCapital) and
                                                              negotiation/execution of LOI with
                                                              Dechra

21.    Bryan Ridall, formerly    Philadelphia, Pennsylvania   Agreement and relationship with
       employed by NewMarket                                  NewMarket; VetBridge’s
                                                              performance; NewMarket’s lack
                                                              of performance/inability or refusal
                                                              to perform; NewMarket’s
                                                              invoicing to VetBridge;
                                                              NewMarket’s misuse of
                                                              VetBridge’s funds; and ownership
                                                              of NewMarket, Aboris and rights
                                                              conveyed to Aboris

22.    Doug Sterkel              New York, New York           NewMarket’s engagement of
                                                              Doug Sterkel (AgriCapital) and
                                                              NewMarket’s representations that
                                                              it could convey US rights “free
                                                              and clear” and failure to disclose
                                                              VetBridge’s Agreement and rights

23.    Denni O. Day, President   Rochester, New York          Mark Ridall’s representations to
       VetPharm                                               VetPharm that VetBridge was
                                                              responsible to pay VetPharm’s
                                                              invoices and providing VetPharm
                                                              with Kevin Speltz’s name, along
                                                              with names of VetBridge’s
                                                              members, contrary to agreement
                                                              with VetBridge that such
                                                              information was confidential;
                                                              VetPharm’s unsolicited, limited
                                                              communications to Kevin Speltz,
                                                              Guy Flickinger and others
                                                              regarding VetPharm’s unpaid
                                                              invoices

24.    Patrick Niland, CFO,      Rochester, New York          Mark Ridall’s representations to
                                                              VetPharm that VetBridge was


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                 Witness                         Location                 Subject Matter of Testimony
              Name/Affiliation

          VetPharm                                                      responsible to pay VetPharm’s
                                                                        invoices and providing VetPharm
                                                                        with Kevin Speltz’s name, along
                                                                        with names of VetBridge’s
                                                                        members, contrary to agreement
                                                                        with VetBridge that such
                                                                        information was confidential;
                                                                        VetPharm’s unsolicited, limited
                                                                        communications to Kevin Speltz,
                                                                        Guy Flickinger and others
                                                                        regarding VetPharm’s unpaid
                                                                        invoices

 25.      Michael McConville,          Rochester, New York              VetPharm’s counsel’s unsolicited,
          McConville, Considine,                                        limited communications to Tom
          Cooman & Morin, PC                                            Stahl regarding VetPharm’s
                                                                        invoices and Tom Stahl’s limited
                                                                        response that VetBridge did not
                                                                        agree to fund


        65.     Based upon where each of the foregoing individuals are located, I highlighted in light

blue those witnesses for whom I believe a trial would be more convenient in Kansas City, Missouri (a

total of 8 witnesses); yellow for those for whom I believe a trial in Kansas City, Missouri would be more

convenient than in Trenton, New Jersey (a total of 7 witnesses); light green for those for whom I believe a

trial would be equally inconvenient, whether the trial was to take place in Kansas City, Missouri or

Trenton, New Jersey (a total of 4 witnesses), and no highlighting for those potential witnesses for whom I

believe a trial would be more convenient in Trenton, New Jersey (a total of 6 potential witnesses).

        66.     VetBridge does not own any real estate, bank accounts or other property in New Jersey,

and does not transact any business there. Until VetBridge is able to actually sell the Omeprazole DSI

Products which are the subject of its Agreement, VetBridge has no revenue source and is totally reliant

upon capital contributions from its members.

        67.     VetBridge has no affiliation or relationship, contractual or otherwise, with VetPharm and

VetBridge’s interests, which arise under an entirely separate contract with NewMarket (i.e., the

Agreement), are not in any way aligned with those of VetPharm.



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        68.     Based upon my personal observations and interactions with Mark Ridall, it is my

understanding and opinion that he is a sophisticated businessman. During the time I have known him

since late 2013, he has told me that his has extensive experience in the racehorse industry, has owned and

bred racehorses, has owned and operated several companies, in addition to NewMarket, and has extensive

contacts with the top pharmaceutical companies and executives in New Jersey. Additionally, I have been

on his personal jet, which he acquired after the Agreement was entered, that he uses for travel.




        I make this declaration under penalty of perjury under the laws of the United States and the laws

of the State of Missouri.



Dated: November 6, 2018
                                                          Kevin Speltz




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                      EXHIBIT A

     (Requested To Be Filed Under Seal)




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                                            EXHIBIT A (Speltz Decl.)
INVOICE                                          Attention:           Kevin Speltz
                                                                      President
                                                 VetBridge Product Development Subsidiary I, LLC
102-016-0210                                     1302 South 59th Street
mridall@newmarketpharma.com                      St. Joseph, MO 64507
                                                 Date: 02/10/2016

4 Pitcairn Ave., Suite 4                         Title: Omeprazole DSI Project Invoice
Trenton, NJ 08628                                Description: Q1 2016
                                                 Invoice Number: 102-016-0210
                                                 Terms: Net 30 days

                                                 Remit Payment To:     NewMarket Pharmaceuticals LLC
                                                                       4 Pitcairn Ave., Suite 4, Trenton, NJ 08628

                                                                       Electronic Wire/ACH Instructions:
                                                                       Bank of America
                                                                       ABA #: 026009593
                                                                       Account #: 381018963117
                                                                       FBO: NewMarket Pharmaceuticals LLC

NOTE:
This invoice is to cover budget overruns attributable to changes in position by the CVM after the execution of
our Agreement in June of 2014, which doubled to number of studies to be performed.


ITEM DESCRIPTION                                                       COMPANY NAME                              Q1 2016
Efficacy Section: Treatment Study Milestone Payments                    VetPharm Inc.                        $     345,012.31
Efficacy Section: Prevention Study Milestone Payments                   VetPharm Inc.                        $      89,132.92
Efficacy Section: Treatment Study Pass-Throughs                         VetPharm Inc.                        $     173,800.21
Efficacy Section: Prevention Study Pass-Throughs                        VetPharm Inc.                        $      84,063.00
Safety Section: Milestone Payment                                       VetPharm Inc.                        $      74,296.00
Safey Section: Study Monitoring                                         RDR Consulting LLC                   $      20,000.00
Regulatory: Quality Assurance Consulting                                LG Consulting Services               $      10,000.00
Regulatory: CMC Section Submission Consulting                           Hughes Consulting                    $      10,000.00
                                                                       Omeprazole DSI Billing for Q1 2016:   $     806,304.44




    CONFIDENTIAL                                                                                                 Page 1 of 1
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                                                                               EXHIBIT B (Speltz Decl.)
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                                            EXHIBIT C (Speltz Decl.)
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                                            EXHIBIT D (Speltz Decl.)
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                                            EXHIBIT E (Speltz Decl.)
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                                            EXHIBIT F (Speltz Decl.)
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                                            EXHIBIT G (Speltz Decl.)
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LATHROP & GAGE                      LLP


    THOMAS H. STAHL                                2345 GRAND BOULEVARD, SUITE 2200
    DIRECT LINE: 816.460.5821                      KANSAS CITY, MISSOURI 64108-2618
    EMAIL: TSTAHL@LATHROPGAGE.COM                  PHONE: 816.292.2000
    WWW.LATHROPGAGE.COM                            FAX: 816.292.2001




                                                   April 20, 2017


    VIA FEDEX PRIORITY OVERNIGHT


    Mark Ridall, CEO
    NewMarket Pharmaceuticals LLC               R e f : 559701/T.STAHL/N D a t e : 20flprl7             SHIPPING:   13.33
                                                Dep:                     Wgt: 0 . 4 0 LBS               SPECIAL:     0.47
    4 Pitcairn Way, Suite 4                                                                             HANDLING:   0.00
                                                                           DV:                   0.00   TOTAL:      13.80
    Trenton, NJ 08628
                                                                   Sycs: PRIORITY OVERNIGHT
                                                                          IRCK; 7215 3151 2762
    Tom Overbay, DVM
                                                R e f : 55970l/T.STAHL/N D a t e : 20Aprl7              SHIPPING:   8.01
    Expedite LLC                                Dep =                    Wgt: 0 . 4 0 LBS               SPECIAL:    2.97
    29449 Ridgeline Drive                                                  DV:                   0.00
                                                                                                        HANDLING:
                                                                                                        TOTAL:
                                                                                                                    0.00
                                                                                                                    10.98
    Louisburg, KS 66053                                            Svcs: PRIORITY OVERNIGHT
                                                                          TRCK; 721b 3151 2773



            Re:    Omeprazole USA Distribution Rights

    Dear Mark and Tom:

    On March 29, Tom Overbay sent to Kevin Speltz an Omeprazole update. In that update,
    VetBridge was advised that NewMarket had completed the engagement of AgriCapital
    (Doug Sterkel) as broker for the Omeprazole Animal Products on a global basis.

    Perhaps "global basis" means rights outside of the United States, but if not, then please
    be advised as follows:

            1.      VetBridge must be directly involved in hiring any broker with regard to
    the distribution of Omeprazole Animal Products in the United States.

          2.      As VetBridge was not involved in the engagement of AgriCapital, please
   understand that AgriCapital has not been hired by VetBridge and VetBridge is not bound
   by any agreements entered into between NewMarket and AgriCaptial.

          3.       Once VetBridge engages a broker, that broker will be directed by Kevin
   Speltz as to the sale of the rights to distribute Omeprazole Animal Products.

   The above formal response does not mean we do not want to meet with the both of you to
   discuss the sale of distribution rights for Omeprazole Animal Products both inside the


   CALIFORNIA       COLORADO         ILLINOIS         KANSAS               MASSACHUSETTS                 MISSOURI


   27337020vl
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                                                                       EXHIBIT H (Speltz Decl.)
  Mark Ridall, CEO
  Tom Overbay, DVM
  April 20, 2017
  Page 2


  The above formal response does not mean we do not want to meet with the both of you to
  discuss the sale of distribution rights for Omeprazole Animal Products both inside the
  United States as well as outside the United States. We also believe that we need to reach
  an agreement on what each party expects to receive upon the sale prior to any broker
  bringing in potential purchasers.

 Kevin, when directing me to respond to the Omeprazole update, also advised that he
 would be pleased to meet the both of you in early May to find agreement in how to
 handle the broker situation as well as decide the issues concerning what each party
 expects to receive as a result of the broker process. Please check your schedules and let
 us know of convenient dates and times. I am pleased to offer conference rooms at my
 law office for these meetings.


                                               Sincerely,

                                               LATHROP & GAGE LLP



                                               By:
                                                     Thomas H. Stahl

 THS/tlh

 Enclosure

 cc:         Kevin Speltz (via e-mail)




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June 4, 2018



VIA CERTIFIED MAIL/
RETURN RECEIPT REQUESTED

NewMarket Pharmaceuticals LLC
Attn: Mr. Mark Ridall
4 Pitcairn Avenue
Suite 4
Trenton, New Jersey 08628


Re:    Exclusive Distribution and License Agreement - VetBridge

Dear Mr. Ridall:

As you are aware, NewMarket Pharmaceuticals LLC (“NM”) executed an Exclusive Distribution
and License Agreement (“Agreement”) effective June 27, 2014, with VetBridge Product
Development Subsidiary I (NM-OMP), LLC (“Distributor”). Distributor believes NM has
breached its obligations. Therefore, please produce and answer the following:

        1.      NM was to manufacture products which are rapidly dissolving formulations of
omeprazole, including Omeprazole Direct Systemic Introduction (“DSI”) compositions for use in
all non-human animals (“Omeprazole Products”). Despite almost four years since the execution
of the Agreement, Distributor has not received any Omeprazole Products and does not have any
information which supports NM’s ability to provide the Omeprazole Products to Distributor.
Please provide any and all information in detail which shows (a) that NM can provide FDA
approval of Omeprazole Products and (b) the timing the Omeprazole Products will be available
for Distributor to sell.

        2.     Provide a timeline for NM’s representatives to educate and train Distributor’s
personnel pursuant to paragraph 6(b) of the Agreement. (All further references to “paragraphs”
refer to the Agreement.)

       3.     Provide any information concerning NM’s active promotion of the Omeprazole
Products by advertising and other promotional activities pursuant to paragraph 6(d).

        4.      Provide copies of NM’s commercial general liability insurance policy in
accordance with paragraph 6(e) of the Agreement, including proof of such insurance having been
in place since June 27, 2014.



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                                                                  EXHIBIT I (Speltz Decl.)
       5.     Provide information that you are manufacturing the Omeprazole Products in
accordance with all applicable state and local laws pursuant to paragraphs 6(f) and 9(a).

        6.      Please state that the Omeprazole Products are free of any security interest lien or
encumbrance, conformed to the specifications, do not infringe any other patent, that NM has a
valid license to manufacture and sell the Omeprazole Products, all pursuant to paragraph 9(a).

      7.     Please provide the most recent contract with Catalent with allows NM to sell the
Omeprazole Product using Catalent ZYDIS pursuant to paragraphs 9 and 10.

       8.      Pursuant to paragraph 10(d), please provide all agreements from NM
collaborators, including all parties whom NM needs in order to manufacture and sell the
Omeprazole Products, that allows Distributor without any royalty, cost or other restriction
imposed by the collaborators to sell the Omeprazole Products. Not only should the
collaborators’ representations and indemnifications be provided to the Distributor, but also must
be acceptable to the Distributor.

        9.       Please provide pursuant to paragraph 10(d) representations from the collaborators
that the sale of the Omeprazole Product does not infringe any U.S. Patent.

       10.    Please provide the insurance and certificates which cover Distributor concerning
breach of warranty or indemnity pursuant to paragraphs 9, 10(d) and 11 as set forth in paragraph
10(e).

        11.   Please affirmatively state that NM has not granted any security interest in any IP
assets of NM necessary to manufacture the Omeprazole Products pursuant to paragraph 10(f).

        12.     As Distributor is not aware of any Omeprazole Products which NM can currently
or in the future supply, NM should indemnify Distributor for its gross negligent and/or wrongful
acts or omission by manufacturer which caused the unavailability of the Omeprazole Products.

       13.    Please specifically state that there has been no “change of control” pursuant to
paragraph 13(v).

       14.    Please specifically state that NM has not assigned, subcontracted, delegated or
otherwise transferred this Agreement or any of its rights or obligations pursuant to paragraph
15(b).

       We respectfully request that you provide answers to this letter within seven (7) days and
that you immediately cure all breaches of your obligations as required under the Agreement.

Sincerely yours,



Kevin Speltz
President Vet Bridge Animal Health




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                                    Dechra
                                    Pharmaceuticals PLC

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                               for the year encjed 30 June 20"1 c3




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Company Numt)er: 3369634            SUSTAINING
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                                      GROWTH
                                    Document 26-2 Filed 11/07/18       Page 48 of 49
                                                                EXHIBIT K (Speltz Decl.)
Notes to the Consolidated Financial Statements
continued



7.    Profit Before Taxation
      Tt1e following items have been included in arriving at profit before taxation of continuing operations:
                                                                                                                                  20Hl             2017
                                                                                                                                   £m                £m
      Cost of inventories recognised as an expense                                                                               140.4            147.7
      Impairment of inventories included in above figure                                                                           2.0               0.9
      Depreciation of property, plant and equipment
      - owned assets                                                                                                               4.8              4.9
      Amortisation of intangible assets                                                                                           56.6             42.4
      Loss on disposal of property, plant ancJ equipmc"nt                                                                                            0.2
      Loss on disposal of intangible assets                                                                                                          0.3
      Impairment of intangible assets - underlying                                                                                  0.1
      (ReiP.ase)/recognition of impairment of receivables                                                                          (0.1)             0.4
      Operating lease rentals payable                                                                                              2.8              3.0
      Research and development expenditure as incurre<J                                                                           18.3             15.0
      Auditors' remuneration                                                                                                        1.4              0.7
      Analysis of total fees paid to the Auditors:
      Audit of these financial statements                                                                                           0.4              0.2
      AucJit of financial statements of subsidiaries pursuant to legislation                                                        0.5              0.4
      Other assurance services - transaction services                                                                               0.5              0.1
      Total fees paid to Auditors                                                                                                   1.4              0.7

      lncludecJ within researc11 and cJevelopment expenditure is £0.25 million to secure t11e worldwide rights for an equine gastro intestinal formulation
      from NewMarket Pharmaceuticals LLC which we plan to develop to registration through our R&D team.

8.    Employees
      The average numbers of staff employed by the Group during the year, which includes Directors. were:
                                                                                                                                  2018            2017
                                                                                                                              Number            NurntJer
      Manufacturing                                                                                                                480              486
      Distribution                                                                                                                 128              109
      Administration                                                                                                               829              74~l
      Total                                                                                                                      1,437            1,338

      The costs incurred in respect of these employees were:
                                                                                                                                  2018             2017
                                                                                                                                   S:m              Crn
      Wages anci salaries                                                                                                         72.0             60.9
      Social security costs                                                                                                        9.2              8.0
      Other pension costs                                                                                                          3.7              4 .4
      Share-based payments charge (see note 2f3)                                                                                    3.3             2 .8
      Total                                                                                                                       88.2             76.1

      Related party transactions - the remuneration of key management was as follows:
                                                                                                                                  2018             2017
                                                                                                                                   £m                £m
      Short term employee benefits                                                                                                 5.5              5.1
      Post-employment benefits                                                                                                     0.3              0.2
      Share-based payments charge                                                                                                  1.6               1.7
                                                                                                                                   7.4              7.0

      Key management comprises the Board and t he Senior Executive Team.

      Details of the remuneration, shareholdings, share options. pension contributions and payments for loss of office of the Executive Directors
      are included in the Directors' Remuneration Report on pages 83 to 98.

      The Group operates a s takeholder personal pension scheme for certain employees and contributed tJetween 4% and 14% of pensionable
      salaries. The Group also participates in state-run pension arrangements for certain employees in Dechra Veterinary Pro<iucts SAS and Dechra
      Veterinary Products BV and operates ti efined benefit schemes in some countries. Total pension contributions amounted to £:3.7 million (2017:
      £:4.4 million). Contributions to defined benefit pension schemes included in the above figures total £:0.7 million (2017: CO.? million).




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